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                                                   02/21/23 Page 1 ofID:
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               United States Court of Appeals
                                For the First Circuit

 No. 22-1052

                           SAKAB SAUDI HOLDING COMPANY,

                                     Plaintiff - Appellant,

                                               v.

  SAAD KHALID S. ALJABRI; KHALID SAAD KHALID ALJABRI; MOHAMMED SAAD
  KH ALJABRI; NEW EAST (US) INC.; NEW EAST 804 805 LLC; NEW EAST BACK BAY
                                    LLC,

                                    Defendants - Appellees,

                                      UNITED STATES,

                                     Intervenor - Appellee.


                                         MANDATE

                                  Entered: February 21, 2023

        In accordance with the judgment of January 27, 2023, and pursuant to Federal Rule of
 Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                             By the Court:

                                             Maria R. Hamilton, Clerk


 cc:
 Scott C. Ford, Faith E. Gay, Ian Heath Gershengorn, Michael Gottlieb, Meaghan Christina Gragg,
 Caitlin J. Halligan, Lindsay C. Harrison, Marie Annie Houghton-Larsen, Denis Michael King,
 Donald Campbell Lockhart, Kevin Paul Martin, Neil J. Oxford, R. Robert Popeo, Douglas B.
 Rosner, Samuel W. Salyer, Jaime Ann Santos, William R. Stein, Sharon Swingle, Lewis Yelin,
 Richard M. Zielinski
